         Case 23-03141 Document 59 Filed in TXSB on 09/27/23 Page 1 of 2
                                                                            United States Bankruptcy Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT                        September 27, 2023
                    FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                             HOUSTON DIVISION

IN RE:                          §
                                §                   CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                            §                   CHAPTER 7
                                §
       Debtor.                  §
                                §
JOHN QUINLAN,                   §
OMAR KHAWAJA, AND               §
OSAMA ABDULLATIF,               §
                                §
VS.                             §                   ADVERSARY NO. 23-3141
                                §
JETALL COMPANIES, INC.,         §
ARABELLA PH 3201 LLC,           §
9201 MEMORIAL DR. LLC,          §
2727 KIRBY 26L LLC,             §
TEXAS REIT LLC,                 §
DALIO HOLDINGS I, LLC,          §
DALIO HOLDINGS II, LLC,         §
HOUSTON REAL ESTATE PROPERTIES, §
LLC,                            §
SHAHNAZ CHOUDHRI,               §
ALI CHOUDHRI,                   §
SHEPHERD-HULDY DEVELOPMENT I, §
LLC,                            §
SHEPHERD-HULDY DEVELOPMENT II, §
LLC,                            §
GALLERIA LOOP NOTE HOLDER LLC, §
A. KELLY WILLIAMS,              §
MAGNOLIA BRIDGECO, LLC,         §
CYPRESS BRIDGECO, LLC, AND      §
MOUNTAIN BUSINESS CENTER, LLC, §
                                §
       Defendants.              §

                             ORDER SETTING HEARING
       Hearing is set on the Motion to Reconsider and Vacate Agreed Order Entered at Docket
Number 53 (ECF No. 57) at 11:00 a.m. on October 25, 2023, in Courtroom 403, United States
Courthouse, 515 Rusk St., Houston, Texas. The response deadline is 5:00 p.m. on October 20,

1/2
            Case 23-03141 Document 59 Filed in TXSB on 09/27/23 Page 2 of 2




2023. Requested relief that is unopposed by written response prior to the response deadline may
be ruled on without the necessity of a hearing. The Court may grant or deny any relief sought in
any motion/application or objection without hearing based on responsive pleadings. The movant
shall serve a copy of this order on all affected parties within 24 hours and file a certificate of
service; or file and serve a hearing notice within 24 hours, which must include the response
deadline.
           Parties should reference the Court’s website for in person hearing requirements as
there are new trial and hearing procedures.1
           SO ORDERED.
            SIGNED 09/27/2023


                                                             ___________________________________
                                                             Jeffrey Norman
                                                             United States Bankruptcy Judge




1
    https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman

2/2
